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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JAMES E. WALKER,
 #R02343,

                     Plaintiff,

 v.                                                Case No. 19-cv-00446-SPM

 KIM BUTLER, et al.,

                     Defendants.


                           MEMORANDUM AND ORDER
MCGLYNN, District Judge:

       This matter is before the Court for case management purposes. Defendant R.D. Moore was

issued summons on Plaintiff’s Amended Complaint on December 5, 2019. (Doc. 37). After the

initial Waiver of Service was returned unexecuted because Defendant Moore no longer works at

Menard, the Waiver of Service was returned executed on December 23, 2019, and his Answer was

due February 10, 2020. (Doc. 50). As of this date, Defendant Moore has failed to move, answer,

or otherwise plead in response to the Amended Complaint.

       The Federal Rules of Civil Procedure provide that the Clerk of Court must enter default

against a defendant who has failed to plead or otherwise defend. FED. R. CIV. P. 55(a).

Accordingly, the Court ORDERS as follows:

       (1)    The Clerk of Court is DIRECTED to ENTER DEFAULT against
              Defendant Moore in accordance with Federal Rule of Civil Procedure 55(a).

       (2)    Plaintiff is ORDERED to move for default judgment against Defendant
              Moore on or before November 24, 2020, in accordance with Federal Rule
              of Civil Procedure 55(b).

       (3)    If Plaintiff fails to move for default judgment as set forth in this Order, this
              entire action will be dismissed as to Defendant Moore for failure to

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           prosecute and/or failure to comply with an order of the Court.

     (4)   The Clerk of Court is DIRECTED to transmit a copy of this Order and the
           entry of default to Plaintiff and to Defendant Moore.

     IT IS SO ORDERED.

     DATED: October 27, 2020


                                                 s/Stephen P. McGlynn
                                                STEPHEN P. MCGLYNN
                                                United States District Judge




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